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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  PROLITEC INC.,                                   )
                                                   )
                    Plaintiff,                     )
                                                   )
      v.                                           )   C.A. No. 20-984-RGA
                                                   )
  SCENTAIR TECHNOLOGIES, LLC,                      )
                                                   )
                    Defendant.                     )


                                 STIPULATED PROTECTIVE ORDER

           WHEREAS, Plaintiff Prolitec Inc. (“Prolitec”) and Defendant ScentAir Technologies,

 LLC (“ScentAir”) (collectively, the “Parties”) believe that certain information that is or will be

 encompassed by discovery demands by the Parties involves the production or disclosure of trade

 secrets, confidential business information, or other proprietary information;

           WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

 with Federal Rule of Civil Procedure 26(c):

           THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

           1.      Each Party may designate as confidential for protection under this Order, any

 document, information or material that constitutes or includes, in whole or in part, confidential or

 proprietary information or trade secrets of the Party or a Third Party to whom the Party reasonably

 believes it owes an obligation of confidentiality with respect to such document, information or

 material (“Protected Material”). Protected Material shall be designated by the Party producing it




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 by affixing a legend or stamp on such document, information or material as follows:

 “CONFIDENTIAL.” The word “CONFIDENTIAL” shall be placed clearly on each page of the

 Protected Material (except deposition and hearing transcripts) for which such protection is sought.

 For deposition and hearing transcripts, the word “CONFIDENTIAL” shall be placed on the cover

 page of the transcript (if not already present on the cover page of the transcript when received from

 the court reporter) by each attorney receiving a copy of the transcript after that attorney receives

 notice of the designation of some or all of that transcript as “CONFIDENTIAL.”

         2.        Any document produced in this Action before issuance of this Order with the

 designation “Confidential” or “Confidential - Outside Attorneys’ Eyes Only” shall receive the

 same treatment as if designated “RESTRICTED - ATTORNEYS’ EYES ONLY” under this Order,

 unless and until such document is redesignated to have a different classification under this Order.

         3.        With respect to documents, information or material designated “HIGHLY

 CONFIDENTIAL SOURCE CODE” the Parties’ Stipulation and Order Regarding Source Code

 Protocol (D.I. 62) shall govern, unless otherwise indicated herein.

         4.        With respect to documents, information or material designated “CONFIDENTIAL”

 or “RESTRICTED - ATTORNEYS’ EYES ONLY” (DESIGNATED MATERIAL)1 subject to the

 provisions herein and unless otherwise stated, this Order governs, without limitation: (a) all

 documents, electronically stored information, and/or things as defined by the Federal Rules of


 1
   The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
 class of materials designated as “CONFIDENTIAL” or “RESTRICTED - ATTORNEYS’ EYES
 ONLY,” both individually and collectively.

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 Civil Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as exhibits

 or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings and

 other court filings; (d) affidavits; and (e) stipulations. All copies, reproductions, extracts, digests

 and complete or partial summaries prepared from any DESIGNATED MATERIALS shall also be

 considered DESIGNATED MATERIAL and treated as such under this Order.

         5.        A designation of Protected Material (i.e., “CONFIDENTIAL” or “RESTRICTED

 - ATTORNEYS’ EYES ONLY”) may be made at any time.                       Inadvertent or unintentional

 production of documents, information or material that has not been designated as DESIGNATED

 MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential treatment.

 Any party that inadvertently or unintentionally produces Protected Material without designating it

 as DESIGNATED MATERIAL may request destruction of that Protected Material by notifying

 the recipient(s), as soon as reasonably possible after the Producing Party2 becomes aware of the

 inadvertent or unintentional disclosure, and providing replacement Protected Material that is

 properly designated.     The recipient(s) shall then destroy all copies of the inadvertently or

 unintentionally produced Protected Materials and any documents, information or material derived

 from or based thereon.

         6.        “CONFIDENTIAL” documents, information and material may be disclosed only

 to the following persons, except upon receipt of the prior written consent of the designating party,



 2
  The “Producing Party” shall mean the party producing documents. The “Receiving Party” shall
 mean the party receiving documents from the Producing Party.

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 upon order of the Court, or as set forth in paragraph 14 herein:

                   (a)   outside counsel of record in this Action3 for the Parties;

                   (b)   employees of such counsel assigned to and reasonably necessary to assist

 such counsel in the litigation of this Action;

                   (c)   up to and including three (3) designated representatives of each of the

 Parties to the extent reasonably necessary for the litigation of this Action and who have signed the

 Undertaking attached as Appendix A hereto, except that either party may in good faith request the

 other party’s consent to designate one or more additional representatives, the other party shall not

 unreasonably withhold such consent, and the requesting party may seek leave of Court to designate

 such additional representative(s) if the requesting party believes the other party has unreasonably

 withheld such consent;

                   (d)   outside consultants or experts (i.e., not existing employees or affiliates of a

 Party or an affiliate of a Party) retained for the purpose of this litigation, provided that: (1) such

 consultants or experts are not presently employed by the Parties hereto for purposes other than this

 Action; 4 (2) before access is given, the consultant or expert has completed the Undertaking

 attached as Appendix A hereto and the same is served upon the Producing Party with a current



 3
   The “Action” shall mean the above captioned matter, C.A. No. 20-984-RGA.
 4
   To be clear, this statement is not intended to prohibit any outside consultants or experts who are
 retained on behalf of the Party for other litigations or for any proceedings before the United States
 Patent and Trademark Office (“USPTO”), including any Inter Partes Review (“IPR”), Post-Grant
 Review (“PGR”), and Covered Business Method (“CBM”) Review before the Patent Trial and
 Appeal Board (“PTAB”) from acting as an outside consultant or expert in this Action.

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 curriculum vitae of the consultant or expert at least ten (10) calendar days before access to the

 Protected Material is to be given to that consultant or expert to object to and notify the Receiving

 Party in writing that it objects to disclosure of Protected Material to the consultant or expert. The

 Parties agree to promptly confer and use good faith to resolve any such objection. If the Parties

 are unable to resolve any objection, the objecting Party may seek relief from the Court in

 accordance with the Court’s discovery and protective order dispute procedures within fifteen (15)

 calendar days of the notice, or within such other time as the Parties may agree, seeking a protective

 order with respect to the proposed disclosure. The objecting Party shall have the burden of proving

 the need for a protective order. No disclosure shall occur until all such objections are resolved by

 agreement or Court order;

                   (e)   independent litigation support services, including persons working for or as

 court reporters, graphics or design services, jury or trial consulting services, and photocopy,

 document imaging, and database services retained by counsel and reasonably necessary to assist

 counsel with the litigation of this Action;

                   (f)   the Court, its technical advisor (if one is appointed), and its personnel;

                   (g)   any mediator who is assigned to hear this matter, and his or her staff, subject

 to their agreement to maintain confidentiality to the same degree as required by this Protective

 Order; and

                   (h)   any person who is identified as an author or recipient, including receipt by

 copy, of the document, information, or material therein, or otherwise appears from the face of the



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 designated material to be a person who has previously seen or had access to the designated material.

          7.       A Party shall designate documents, information or material as “CONFIDENTIAL”

 only upon a good faith belief that the documents, information or material contains confidential or

 proprietary information or trade secrets of the Party or a Third Party to whom the Party reasonably

 believes it owes an obligation of confidentiality with respect to such documents, information or

 material.

          8.       Documents, information or material produced pursuant to any discovery request in

 this Action, including but not limited to Protected Material designated as DESIGNATED

 MATERIAL, shall be used by the Parties only in the litigation of this Action, or to the extent

 otherwise agreed to by the parties and shall not be used for any other purpose. Any person or

 entity who obtains access to DESIGNATED MATERIAL or the contents thereof pursuant to this

 Order shall not make any copies, duplicates, extracts, summaries or descriptions of such

 DESIGNATED MATERIAL or any portion thereof except as may be reasonably necessary in the

 litigation of this Action. Any such copies, duplicates, extracts, summaries or descriptions shall be

 classified DESIGNATED MATERIALS and subject to all of the terms and conditions of this

 Order.

          9.       To the extent a Producing Party believes that certain Protected Material qualifying

 to be designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

 limitation, the Producing Party may designate such Protected Material “RESTRICTED --

 ATTORNEYS’ EYES ONLY.”



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         10.       For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY,

 access to, and disclosure of, such material shall be limited to individuals listed in paragraphs 6(a-

 b) and (d-h).

         11.       Any outside counsel representing a Party, and any person associated with a Party

 and permitted to receive the other Party’s Protected Material that is designated RESTRICTED --

 ATTORNEYS’ EYES ONLY and/or HIGHLY CONFIDENTIAL SOURCE CODE (i.e.,

 “HIGHLY SENSITIVE MATERIAL”), who obtains, receives, has access to, or otherwise learns,

 in whole or in part, the other Party’s HIGHLY SENSITIVE MATERIAL shall not prepare,

 prosecute, or assist in the preparation or prosecution of any patent application pertaining to scent

 diffusion technology on behalf of the Receiving Party or its acquirer, successor, predecessor, or

 other affiliate during the pendency of this Action and for one year after its conclusion, including

 any appeals. The terms of this provision do not apply to review procedures before the Patent Trial

 and Appeals Board, or reexamination proceedings in the USPTO. To be clear, individuals who

 receive “HIGHLY SENSITIVE MATERIAL” (including outside counsel for a Receiving Party)

 may prepare, prosecute, supervise, or assist in the preparation or prosecution of any review

 proceeding before the patent office related to any patent-in-suit without any limitation except that,

 (1) counsel subject to the prosecution bar shall not draft or assist in the drafting, directly or

 indirectly (including drafting or amendment strategy or any substantive discussion concerning

 such drafting), of any claim or amendment to any claim of any patent-in-suit and (2) counsel

 subject to the prosecution bar shall not reveal the opposing Party’s HIGHLY SENSITIVE



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 MATERIAL to any review proceeding counsel or agent drafting or assisting in the drafting of any

 claim or amendment to any claim of any patent-in-suit.

         12.       Nothing in this Order shall require production of documents, information or other

 material that a Party contends is protected from disclosure by the attorney-client privilege, the

 work product doctrine, or other privilege, doctrine, or immunity. Pursuant to Federal Rule of

 Evidence 502(d), the production of documents, information or other material subject to a claim of

 attorney-client privilege, work product doctrine, or other privilege, doctrine, immunity, or

 protection mandated by law shall not prejudice or otherwise constitute a waiver of, or estoppel as

 to, any such privilege, doctrine, immunity, or other protection in this or any other action. Any

 Party that inadvertently or unintentionally produces documents, information or other material it

 reasonably believes are protected under the attorney-client privilege, work product doctrine, or

 other privilege, doctrine, or immunity may obtain the return of such documents, information or

 other material by promptly notifying the recipient(s) and providing a privilege log for the

 inadvertently or unintentionally produced documents, information or other material.          After

 receiving written notice from the producing party that documents or materials subject to the

 attorney-client privilege, work-product immunity, or other protection have been produced, the

 receiving party shall not review, copy, or otherwise disseminate the documents or materials, nor

 shall it disclose their substance. The recipient(s) shall gather and return all copies of such

 documents, information or other material to the Producing Party within five (5) days from

 receiving notice, or provide written confirmation of the destruction of the original and all copies



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 of the identified documents or other material, including all documents and things generated by a

 receiving party which documents and things contain information derived from the

 returned/destroyed materials. The receiving party shall not utilize the information contained in the

 returned/destroyed documents or materials for any purpose, or disseminate or transmit such

 information.

         13.       There shall be no disclosure of any DESIGNATED MATERIAL by any person

 authorized to have access thereto to any person who is not authorized for such access under this

 Order. The Parties are hereby ORDERED to safeguard all such documents, information and

 material to protect against disclosure to any unauthorized persons or entities.

         14.       Nothing contained herein shall be construed to prejudice any Party’s right to use

 any DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

 the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have access

 to the DESIGNATED MATERIAL by virtue of his or her employment with the designating party,

 (ii) identified in the DESIGNATED MATERIAL as an author, addressee, or copy recipient of such

 information, (iii) although not identified as an author, addressee, or copy recipient of such

 DESIGNATED MATERIAL, has, in the ordinary course of business, seen such DESIGNATED

 MATERIAL, (iv) a current or former officer, director or employee of the Producing Party or a

 current or former officer, director or employee of a company affiliated with the Producing Party;

 (v) outside counsel for a Party; (vi) an independent contractor, consultant, and/or expert retained

 for the purpose of this litigation; (vii) court reporters and videographers; (viii) the Court; or (ix)



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  other persons entitled hereunder to access to DESIGNATED MATERIAL. DESIGNATED

  MATERIAL shall not be disclosed to any other persons unless prior authorization is obtained from

  counsel representing the Producing Party or from the Court.

          15.       Parties may, at the deposition or hearing or within thirty (30) days after receipt of

  a deposition or hearing transcript, designate the deposition or hearing transcript or any portion

  thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEY’ EYES ONLY,” or “HIGHLY

  CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access to the deposition or hearing

  transcript so designated shall be limited in accordance with the terms of this Order. Until

  expiration of the 30-day period, the entire deposition or hearing transcript shall be treated as

  “RESTRICTED - ATTORNEY’ EYES ONLY,” excepting the deponent for purposes of review

  and signature of the transcript.

          16.       Any DESIGNATED MATERIAL that is filed with the Court, including a pretrial

  filing, or an exhibit thereto, that discloses or relies on confidential documents, information or

  material, shall be filed under seal. The filing party shall be responsible for placing the legend

  “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” in the caption and/or

  conspicuously on the front page of the filing. The filing party is responsible for filing with the

  Court a public redacted version within 7 days of the original sealed filing, consistent with District

  of Delaware Local Rule 5.1.3., or as otherwise ordered by the Court, and shall confer with counsel

  for the other party regarding any proposed redactions before filing.

          17.       The Order applies to pretrial discovery. Nothing in this Order shall be deemed to



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  prevent the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

  this Action, or from using any information contained in DESIGNATED MATERIAL at the trial

  of this Action, subject to any pretrial order issued by this Court.

          18.       A Party may request in writing to the other Party that the designation given to any

  DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not agree

  to redesignation within ten (10) calendar days of receipt of the written request, the requesting Party

  may apply to the Court for relief. Upon any such application to the Court, the burden shall be on

  the designating Party to show why its classification is proper. Such application shall be treated

  procedurally as a motion to compel pursuant to Federal Rules of Civil Procedure 37, subject to the

  Rule’s provisions relating to sanctions. In making such application, the requirements of the

  Federal Rules of Civil Procedure and the Local Rules of the Court shall be met. Pending the

  Court’s determination of the application, the designation of the designating Party shall be

  maintained.

          19.       Each outside consultant or expert to whom DESIGNATED MATERIAL is

  disclosed in accordance with the terms of this Order shall be advised by counsel of the terms of

  this Order, shall be informed that he or she is subject to the terms and conditions of this Order, and

  shall sign an acknowledgment that he or she has received a copy of, has read, and has agreed to be

  bound by this Order. A copy of the acknowledgment form is attached as Appendix A.

          20.       To the extent that any discovery is taken of persons who are not Parties to this

  Action (“Third Parties”) and in the event that such Third Parties contended the discovery sought



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  involves trade secrets, confidential business information, or other proprietary information, then

  such Third Parties may agree to be bound by this Order.

          21.       To the extent that discovery or testimony is taken of Third Parties, the Third Parties

  may designate as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEYS’ EYES ONLY” or

  “HIGHLY CONFIDENTIAL SOURCE CODE” any documents, information or other material, in

  whole or in part, produced or given by such Third Parties. The Third Parties shall have ten (10)

  calendar days after production of such documents, information or other materials to make such a

  designation. Until that time period lapses or until such a designation has been made, whichever

  occurs sooner, all documents, information or other material so produced or given shall be treated

  as “CONFIDENTIAL” in accordance with this Order.

          22.       Within thirty (30) days of final termination of this Action, including any appeals,

  all DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

  descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated into any

  privileged memoranda of the Parties and materials which have been admitted into evidence in this

  Action), shall at the Producing Party’s election either be returned to the Producing Party or be

  destroyed. The Receiving Party shall verify the return or destruction by affidavit furnished to the

  Producing Party, upon the Producing Party’s request; provided, however, that outside counsel for

  a party may retain an archival copy of all pleadings, discovery requests, responses, submissions

  and Court filings, as well as a copy of all work product and communications containing

  DESIGNATED MATERIAL.



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          23.       The failure to designate documents, information or material in accordance with this

  Order and the failure to object to a designation at a given time shall not preclude the filing of a

  motion at a later date seeking to impose such designation or challenging the propriety thereof. The

  entry of this Order and/or the production of documents, information and material hereunder shall

  in no way constitute a waiver of any objection to the furnishing thereof, all such objections being

  hereby preserved.

          24.       Any Party knowing or believing that any other party is in violation of or intends to

  violate this Order and has raised the question of violation or potential violation with the opposing

  party and has been unable to resolve the matter by agreement may move the Court for such relief

  as may be appropriate in the circumstances. Pending disposition of the motion by the Court, the

  Party alleged to be in violation of or intending to violate this Order shall discontinue the

  performance of and/or shall not undertake the further performance of any action alleged to

  constitute a violation of this Order.

          25.       Production of DESIGNATED MATERIAL by each of the Parties shall not be

  deemed a publication of the documents, information and material (or the contents thereof)

  produced so as to void or make voidable whatever claim the Parties may have as to the proprietary

  and confidential nature of the documents, information or other material or its contents.

          26.       Nothing in this Order shall be construed to effect an abrogation, waiver or limitation

  of any kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

          27.       Each of the Parties shall also retain the right to file a motion with the Court (a) to



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  modify this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

  entities if reasonably necessary to prepare and present this Action and (b) to apply for additional

  protection of DESIGNATED MATERIAL.

          28.       Other Proceedings.   By entering this order and limiting the disclosure of

  information in this case, the Court does not intend to preclude another court from finding that

  information may be relevant and subject to disclosure in another case. Any person or party subject

  to this order who becomes subject to a motion to disclose another party’s information designated

  “CONFIDENTIAL” or “RESTRICTED – ATTORNEYS EYES ONLY” pursuant to this order

  shall promptly notify that party of the motion so that the party may have an opportunity to appear

  and be heard on whether that information should be disclosed.




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   Dated: November 7, 2022

   MCCARTER & ENGLISH, LLP                   DLA PIPER LLP (US)

   /s/ Alexandra M. Joyce                    /s/ Jeff Castellano
   Brian R. Lemon (#4730)                    Brian A. Biggs (#5591)
   Alexandra M. Joyce (#6423)                Jeff Castellano (#4837)
   Renaissance Centre                        1201 North Market Street, Suite 2100
   405 N. King Street, 8th Floor             Wilmington, DE 19801
   Wilmington, DE 19801                      Telephone: (302) 468-5700
   (302) 984-6300                            Facsimile: (302) 394-2341
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   MarcL@seedip.com                          jpond@crowell.com
   JeffD@seedip.com                          vgalluzzo@crowell.com

   Attorneys for Plaintiff                   Attorneys for Defendant



                   7th day of __________,
  SO ORDERED this _____        November 2022.

                                               /s/ Richard G. Andrews
                                            _______________________________________
                                            UNITED STATES DISTRICT JUDGE




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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   PROLITEC INC.,                                     )
                                                      )
                     Plaintiff,                       )
                                                      )
       v.                                             )    C.A. No. 20-984-RGA
                                                      )
   SCENTAIR TECHNOLOGIES, LLC,                        )
                                                      )
                     Defendant.                       )


                                              APPENDIX A

                      UNDERTAKING REGARDING PROTECTIVE ORDER

            I, ______________________________, declare that:

            1.      My address is ________________________________________________.

            My current employer is ______________________________________________.

            My current occupation is _____________________________________________.

            2.      I have received a copy of the Protective Order in this action. I have carefully read

  and understand the provisions of the Protective Order.

            3.      I will comply with all of the provisions of the Protective Order. I will hold in

  confidence, will not disclose to anyone not qualified under the Protective Order, and will use only

  for purposes of this action any information designated as “CONFIDENTIAL,” “RESTRICTED --

  ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL SOURCE CODE” that is

  disclosed to me.




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          4.        Promptly upon termination of these actions, I will return all documents and things

  designated as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or

  “HIGHLY CONFIDENTIAL SOURCE CODE” that came into my possession, and all documents

  and things that I have prepared relating thereto, to the outside counsel for the party by whom I am

  employed.

          5.        I hereby submit to the jurisdiction of this Court for the purpose of enforcement of

  the Protective Order in this action.

          I declare under penalty of perjury that the foregoing is true and correct.

  Signature __________________

  Date ______________________




                                                     2

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